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B 210A (Form 210A) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                    FOR THE EASTERN DISTRICT OF VIRGINIA

In re ________________________________,
         JOHN SMALL                                                                               Case No. ________________
                                                                                                              10-37875




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



   East Bay Funding, LLC                                                     CR Evergreen II, LLC
______________________________________                                      ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):               4
should be sent:                                                             Amount of Claim:                        11001.94

     East Bay Funding, LLC
                                                                            Date Claim Filed:                       12/18/2010
     c/o Resurgent Capital Services
     PO Box 288
     Greenville, SC 29603
Phone: ______________________________
        877-264-5884                                                        Phone:    866-670-2361
Last Four Digits of Acct #: ______________
                               9531                                         Last Four Digits of Acct. #: __________
                                                                                                          1776


Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

       /s/ Susan Gaines
By:__________________________________                                                12/13/2011
                                                                            Date:____________________________
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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     * Please note the original document may include additional signatory pages not relevant to the claim.
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                                    Transfer and Assignment

   Sherman Originator III LLC (“SOLLC III”), without recourse, to the extent permitted by
applicable law, hereby transfers, sells, assigns, conveys, grants and delivers to East Bay Funding,
LLC (“East Bay”) all of its right, title and interest in and to the receivables and other assets (the
“Assets”) identified on Exhibit A, in the Receivable File dated November 08, 2011 delivered by
LSF5 B-Line Investments, LLC; B-Line, LLC; Roundup Funding, LLC; CR Evergreen, LLC;
CR Evergreen II, LLC; Get Real Holdings, LLC; Avalon Financial Services, LLC; B-Real, LLC,
By: B-LINE, LLC, its Manager on November 08, 2011 for purchase by SOLLC III on November
08, 2011. The transfer of the Assets included electronically stored business records.

                 Dated: November 08, 2011
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                                       Exhibit A
 Receivables File
 11.08.11

 Transfer Group     Portfolio               Transfer Batch
 209358             17086                   N/A
